          Case 6:18-bk-16853-SC                   Doc 80 Filed 08/19/21 Entered 08/19/21 13:10:50                                       Desc
                                                   Main Document    Page 1 of 2

 Chapter 7 Trustee Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., & Email Address

 Larry D. Simons
 larry@lsimonslaw.com                                                                                    FILED & ENTERED
 CHAPTER 7 TRUSTEE
 3610 Central Avenue, Suite 400
 Riverside, CA 92506                                                                                             AUG 19 2021
 Ph: (951) 686-6300; Fax: (951) 742-4733
                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY craig      DEPUTY CLERK




                                          UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA -RIVERSIDE DIVISION

 In re:                                                                      CASE NO.: 6:18-bk-16853 SC
                                                                             CHAPTER: 7

 SIDNEY SERAFINI
                                                                                  ORDER ON TRUSTEE’S MOTION UNDER
                                                                                   LBR 2016-2 FOR AUTHORIZATION TO
                                                                                 EMPLOY PARAPROFESSIONALS AND/OR
                                                                                    AUTHORIZATION TO PAY FLAT FEE
                                                                                          TO TAX PREPARER
                                                                                   No hearing held
                                                                                   Hearing held
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             PLACE:
                                                              Debtor(s).



1.   The motion to employ Hahn Fife LLP as a paraprofessional is
        Granted         Denied.

2.   The motion to employ Hah Fife LLP as a tax preparer, and to pay $1,000.00 (not to exceed $1,000 unless the court
     orders otherwise) to the tax preparer is
         Granted         Denied.

3. The motion is set for hearing on                   at                            and the trustee is directed to give notice to the United
   States trustee, all objecting parties or their attorneys.




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2016                                                            Page 1                        F 2016-2.1.ORDER.TRUSTEE.EMPLOY
         Case 6:18-bk-16853-SC                   Doc 80 Filed 08/19/21 Entered 08/19/21 13:10:50                                       Desc
                                                  Main Document    Page 2 of 2


4. By signing this order, the court is not making a judicial determination as to whether the services set forth in
   paragraphs 1.B or 1.C of the motion constitutes “trustee services.”

                                                                         ###




                Date: August 19, 2021




         This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2016                                                           Page 2                        F 2016-2.1.ORDER.TRUSTEE.EMPLOY
